                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

Craig Cunningham, pro se,                )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )               Civil Action No. 3:16-cv-02922
                                         )               Judge Trauger/Holmes
Robert Jacovetti, Esq., et al,           )
                                         )
       Defendants.

                                 AGREED ORDER OF DISMISSAL
                                   Modified to include Defendant

This cause is pending before the United States District Court, Middle District of

Tennessee. Counsel for the parties signify by signing below that all parties have entered into a

settlement of all matters in dispute in this action. Accordingly, by agreement of the parties, it

is ORDERED, ADJUDGED, AND DECREED that the above entitled matter is dismissed with

prejudice.

        Enter the 31st day of March 2017.


                                                 _______________________________
                                                 ALETA A. TRAUGER
                                                 U.S. DISTRICT JUDGE


Approved for Entry
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